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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


     Southern
 ____________________              New York
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                              Hurdl Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                Hurdl Enterprises, LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                        Hurdl
                                              ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 2     5 ___
                                                     – ___ 1 ___
                                                              9 ___
                                                                 9 ___
                                                                    6 ___
                                                                       3 ___
                                                                          0
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                                64          Bleeker St.
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                                 Suite 111
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                                New York                   NY         10012
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                                New York County
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.hurdl.com/
                                              ____________________________________________________________________________________________________




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Debtor            Hurdl Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          x None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5182,
                                             ___   5191,
                                                 ___  ___5418
                                                           ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          x Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).
                                                          x
                                                             A plan is being filed with this petition.
                                                          x
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor            Hurdl Inc.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           x No
                                             
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases              x No
                                             
       pending or being filed by a
       business partner or an                 Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                             x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have           x No
                                             
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




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Debtor         Hurdl Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   x Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         x 1-49
                                                                             1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                         x $100,001-$500,000
                                                                             $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        x $1,000,001-$10 million
                                                                                                                         $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           11/30/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                               /s/ Joseph V. Pegnia
                                             _____________________________________________                   Joseph V. Pegnia
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                     Chief Restructuring Officer
                                             Title _________________________________________




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Debtor          Hurdl Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                              /s/ Joseph A. Pack
                                            _____________________________________________            Date         11/30/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                              Joseph A. Pack
                                           _________________________________________________________________________________________________
                                           Printed name
                                              Pack Law, P.A.
                                           _________________________________________________________________________________________________
                                           Firm name
                                             777 Westchester Avenue, Suite 101
                                           _________________________________________________________________________________________________
                                           Number      Street
                                             White Plains
                                           ____________________________________________________              New York
                                                                                                           ____________   10604
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            212-949-9300
                                           ____________________________________                              joe@packlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                             4790432
                                           ______________________________________________________ ____________
                                           Bar number                                             State




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                                     RESOLUTIONS
                              OF THE BOARD OF DIRECTORS
                                     OF HURDL INC.
                                       November 29, 2020
The undersigned, being all of the Board of Directors of Hurdl Inc. (the “Board” or the
“Directors”), a Delaware corporation (the “Company”), at a telephonic meeting held on
November, 29, 2020 (the “Meeting”), do hereby consent to the adoption of the following
resolutions as of the date hereof:
        WHEREAS, a requisite number of the members of the Board, constituting a quorum,
participated throughout the Meeting. After it was confirmed that the Meeting was duly convened
(and each member of the Board waived any notice requirements in connection therewith), those
participating could hear each other and a quorum of the Board was in attendance, the Meeting
was called to order;
       WHEREAS, the Board has considered presentations by management and the financial
and legal advisors of the Company regarding the liabilities and liquidity situation of the
Company, the strategic alternatives available to it, and the effect of the foregoing on the
Company’s business; and
        WHEREAS, the Board has had the opportunity to consult with the financial and legal
advisors of the Company and assess the considerations related to the commencement of chapter
11 cases under title 11 of the United States Code (the “Bankruptcy Code”), including materials
provided by the financial and legal advisors, and the Board recommends the adoption of these
resolutions.
                                       Chapter 11 Case
        NOW, THEREFORE, BE IT RESOLVED, in light of the Company’s current financial
condition, after the Directors have investigated, discussed, and considered options for addressing
the Company’s financial challenges and, after consultation with the Company’s advisors, the
Directors have concluded that it is in the best interests the Company, its creditors, employees and
other interested parties that a petition be filed by the Company seeking relief under the
provisions of the Bankruptcy Code, and
        RESOLVED FURTHER, that any officer of the Company, including the Chief
Executive Officer, (each, an “Authorized Officer” and collectively, the “Authorized Officers”)
be, and each of them individually hereby is, authorized, in the name and on behalf of the
Company, appointed as the Company’s authorized representatives, and in such capacity, acting
alone or together, with power of delegation, be, and they hereby are, authorized and empowered
to execute and file on behalf of the Company, all petitions, schedules, lists, applications,
pleadings and other motions, papers, agreements, consents or documents in the Bankruptcy
Court for the Southern District of New York (the “Bankruptcy Court”), and to take any and all
action that they deem necessary or proper to obtain such relief, including, without limitation, any
action necessary to maintain the ordinary course operation of the Company’s businesses; and
        RESOLVED FURTHER, that the law firm of Pack Law, P.A. (“Pack Law”)is hereby
employed as general bankruptcy counsel to represent and assist the Company in carrying out its
duties under the Bankruptcy Code, subject to Bankruptcy Court approval; and
                                                 1
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         RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Authorized Officers, with power
of delegation, are hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
the services of any other professionals as necessary; and
        RESOLVED FURTHER that each Authorized Officer be, and they hereby are, with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the
Authorized Officers deem necessary, proper or desirable in connection with the Chapter 11 Case,
with a view to the successful prosecution of such case; and
       RESOLVED FURTHER that the filing by the Company of a petition seeking relief
under the provisions of the Bankruptcy Code shall not dissolve the Company.
                      Appointment of Chief Restructuring Officer
        WHEREAS, the Directors, in consultation with the Company’s professionals, have
determined that it is desirable, fair, reasonable, and in the best interests of the Company to
designate GlassRatner Advisory & Capital Group, LLC d/b/a B. Riley Advisory Services, by and
through Joseph V. Pegnia, to serve as an officer of the Company in the position of CRO,
effective as of the commencement of the Chapter 11 case;
        NOW, THEREFORE, BE IT RESOLVED, GlassRatner Advisory & Capital Group,
LLC d/b/a B. Riley Advisory Services, by and through Joseph V. Pegnia, is appointed to the
position of CRO of the Company; and
        RESOLVED FURTHER, that the CRO is hereby delegated the authority otherwise
vested in the Chief Executive Officer and any other Authorized Officer, in consultation with the
Authorized Officers, and where appropriate and consistent with the CRO’s discharge of his
fiduciary duties in consultation with the Authorized Officers, over implementation and
prosecution of the Chapter 11 case, including causing the Company to enter into one or more
restructuring transactions (each a “Restructuring Transaction”); and
       RESOLVED FURTHER, that the CRO shall report to the Board for the purpose of
performing the duties and responsibilities of a Chief Restructuring Officer and such other duties
and responsibilities as may be determined by the Board to be reasonably related thereto; and
        RESOLVED FURTHER, that the CRO, in consultation with the Authorized Officers, is
hereby authorized and empowered, in the name of and on behalf of the Company, to take actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform and cause
the performance of any agreements, certificates, instruments, receipts, petitions, motions or other
papers or documents in furtherance of any Restructuring Transaction to which the Company is or
will be a party, including, but not limited to, any restructuring support agreements, debtor-in-
possession financing agreements, a Chapter 11 plan, a disclosure statement, and all exhibits
and/or ancillary documents related thereto (collectively, the “Restructuring Documents”); and

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        RESOLVED FURTHER, that the CRO, in consultation with the Authorized Officers, is
hereby authorized and empowered in the name of, and on behalf of, the Company to take any
and all actions to (i) obtain Bankruptcy Court approval of the Restructuring Documents in
connection with any Restructuring Transaction, and (ii) obtain Bankruptcy Court approval of any
Restructuring Transaction; and
       RESOLVED FURTHER, that all acts lawfully done or actions lawfully taken by any of
the CRO, the Board, any committee of the Board, or the Authorized Officers in connection with
the appointment and retention of the CRO, or any matter related thereto, be, and hereby are,
adopted, ratified, confirmed and approved in all respects as the acts and deeds of the Company.
                       Cash Collateral and Adequate Protection
       WHEREAS, the Company is a party to that certain Business Loan Agreement dated
March 15, 2019, with Pinnacle Bank (“Pinnacle”) pursuant to which Pinnacle has made certain
loans and financial accommodations to the Company; and
        WHEREAS, the Company will obtain benefits from the use of collateral, including cash
collateral as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), which is security for Pinnacle;
        NOW, THEREFORE, BE IT RESOLVED, that in order to use and obtain the benefits
of the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, the
Company will provide certain adequate protection to Pinnacle (the “Adequate Protection
Obligations”), as documented in the proposed order regarding the use of cash collateral (the
“Cash Collateral and DIP Financing Order”) and submitted for approval to the Bankruptcy
Court; and
        RESOLVED FURTHER, that the Company, as debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations
and to undertake any and all related transactions on substantially the same terms as contemplated
under the Cash Collateral Order; and
        RESOLVED FURTHER, that the CRO be, and hereby is, authorized, directed, and
empowered in the name of, and on behalf of, the Company to seek approval of the use of Cash
Collateral pursuant to the Cash Collateral and DIP Financing Order, and, the CRO be, and
hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
agreements, instruments, or documents, by or on behalf of the Company, as necessary or
advisable to implement the Cash Collateral and DIP Financing Order, including providing for
adequate protection to Pinnacle in accordance with section 363 of the Bankruptcy Code, as well
as any additional or further agreements for the use of cash collateral in connection with the
Chapter 11 case, which agreement(s) may require the Company to grant adequate protection and
security interests to Pinnacle and each other agreement, instrument, or document to be executed
and delivered in connection therewith, by or on behalf of the Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as the CRO, in his
absolute discretion approves, such approval to be conclusively evidenced by the taking of such
action or by the execution and delivery thereof; and
       RESOLVED FURTHER, that the CRO, and the Authorized Officers be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, the Company to execute,

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deliver, and file any amendments, supplements, modifications, renewals replacements,
consolidations, substitutions, and extensions of the Cash Collateral and DIP Financing Order or
to take any other action which shall in his/her or their absolute discretion be necessary, desirable,
proper, or advisable to give effect to the foregoing resolutions, which determination shall be
conclusively evidenced by his execution thereof.
                                     General Resolutions
         RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the CRO and the Authorized Officers, each of the CRO and the Authorized
Officers (and their designees and delegates) be, and they hereby are, authorized and empowered,
in the name of and on behalf of the Company, to take or cause to be taken any and all such other
and further action, and to execute, acknowledge, deliver and file any and all such agreements,
certificates, instruments and other documents and to pay all expenses, including but not limited
to filing fees, in each case as in such officer’s or officers’ judgment, shall be necessary, advisable
or desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
adopted herein.
        RESOLVED FURTHER, that all members of the Board have received sufficient notice
of the actions and transactions relating to the matters by the foregoing resolutions, as may be
required by the organizational documents of the Company, or hereby waive any right to have
received such notice.
        RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution by
the Board.
        RESOLVED FURTHER, that these resolutions may be executed and delivered in
multiple counterparts and via facsimile or other electronic means, all of which taken together
shall constitute one and the same instrument.
                                  [SIGNATURE PAGE FOLLOWS]




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 IN WITNESS WHEREOF, THE UNDERSIGNED DIRECTORS HAVE DULY EXECUTED THESE
              RESOLUTIONS AS OF THE DATE FIRST WRITTEN ABOVE.




Chuck Byrge:    _________________________________

Tom Kendrot:    _________________________________

Betsy Proctor   _________________________________




                                         5
DocuSign Envelope ID: 74F3C9C3-DBF1-4F3A-BD57-ADE3CA6A95AA
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              IN WITNESS WHEREOF, THE UNDERSIGNED DIRECTORS HAVE DULY EXECUTED THESE
                           RESOLUTIONS AS OF THE DATE FIRST WRITTEN ABOVE.




            Chuck Byrge:       _________________________________

            Tom Kendrot:       _________________________________

            Betsy Proctor      _________________________________




                                                             5
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________
                                      )
In re:                                )
                                      )                         Chapter 11
Hurdl Inc.,                           )
                                      )                         Case No. __-___( )
                                      )
                  Debtor.             )
_____________________________________ )


                                    LIST OF EQUITY SHAREHOLDERS1
            Equity Holder                   Address of Equity Holder                 Percentage of Equity Held
           T. Powell Hedley                       PO Box 331133                               9.24%
                                               Nashville, TN 37203
             Benny Brown                       4338 N. Chapel Road                                9.27%
                                                Franklin, TN 37067
              Steve Forde                       809 Breckston Lane                                8.88%
                                               Nashville, TN 37221
             Betsy Proctor                    4113 Colorado Avenue                                8.01%
                                               Nashville, TN 37209
        Barlow Capital, LLC                1804 Williamson Court, #107                            5.12%
                                              Brentwood, TN 37027




1
    This list reflects the holders of five percent or more of the Debtor’s voting stock. This list serves as the disclosure
    required to be made by the Debtor pursuant to Rule 1007 of the Federal Rules of bankruptcy Procedure. All equity
    positions listed as of the date of the commencement of the chapter 11 case.
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 Fill in this information to identify the case and this filing:

              Hurdl Inc.
 Debtor Name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the: ______________________              NY
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         X    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         X    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         X    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         X
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         X    Schedule H: Codebtors (Official Form 206H)

         
         X    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11/30/2020
        Executed on ______________                              /s/ Joseph V. Pegnia
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Joseph V. Pegnia
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                   Pg 14 of 36
  Fill in this information to identify the case:

                Hurdl Inc.
  Debtor name __________________________________________________________________

                                           Southern
  United States Bankruptcy Court for the:_______________________              New York
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   x      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)           Type of account                       Last 4 digits of account number
          Pinnacle Bank
   3.1. _________________________________________________   Checking - Business
                                                          ______________________                ____ ____ ____ ____                  4,421.80
                                                                                                                                  $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                     4,421.80
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   x
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
          Lease deposit at 611 Broadway, Suite 611, New York , NY 10012
   7.1. ________________________________________________________________________________________________________                      9,654.20
                                                                                                                                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                   page 1
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Debtor           Hurdl Inc.                                           Pg 15 of 36
                _______________________________________________________             Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                 $______________________
   8.2.___________________________________________________________________________________________________________                 $_______________________

9. Total of Part 2.
                                                                                                                                     9,654.20
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    x No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

    11a. 90 days old or less:     ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:         ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    x No. Go to Part 5.

     Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________                _____________________    $________________________
   14.2. ________________________________________________________________________________                _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                  % of ownership:
   15.1._______________________________________________________________             ________%            _____________________    $________________________
   15.2._______________________________________________________________             ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                 ______________________   $_______________________
   16.2.________________________________________________________________________________                 ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 2
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Debtor                                                        Pg 16 of 36
                _______________________________________________________     Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
    
    x Yes. Fill in the information below.


     General description                            Date of the last      Net book value of     Valuation method used     Current value of
                                                    physical inventory    debtor's interest     for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
     electronic wristbands                           06/26/2020
                                                    ______________                                                          462,271
                                                                                                                             0
   ________________________________________                                 0462,271
                                                                          $__________________    book value
                                                                                                ____________
                                                                                                    ________________     $______________________
                                                    MM / DD / YYYY

22. Other inventory or supplies
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         0
                                                                                                                            462,271
                                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    x No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
    x
         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    x No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    x No. Go to Part 7.
    
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used     Current value of debtor’s
                                                                          debtor's interest     for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                           page 3
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Debtor                                                         Pg 17 of 36
               _______________________________________________________       Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    x No. Go to Part 8.
    
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
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 Debtor                                                       Pg 18 of 36
                _______________________________________________________     Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    x Yes. Fill in the information below.
    

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________             813
                                                                           $________________      book value
                                                                                                ____________________       813
                                                                                                                        $______________________


51. Total of Part 8.                                                                                                       813
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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Debtor                                                           Pg 19 of 36
                _______________________________________________________        Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    x Yes. Fill in the information below.
    
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used     Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value         debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
          64 Bleacker St., New York, NY 10012
    55.1________________________________________              leasehold
                                                            _________________        0
                                                                                  $_______________        current market value
                                                                                                       ____________________         0
                                                                                                                                 $_____________________

    55.2________________________________________            _________________     $_______________     ____________________      $_____________________

    55.3________________________________________            _________________     $_______________     ____________________      $_____________________

    55.4________________________________________            _________________     $_______________     ____________________      $_____________________

    55.5________________________________________            _________________     $_______________     ____________________      $_____________________

    55.6________________________________________            _________________     $_______________     ____________________      $_____________________


56. Total of Part 9.
                                                                                                                                   0
                                                                                                                                 $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    x No

         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    x No
    
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    x Yes. Fill in the information below.
    
   General description                                                           Net book value of    Valuation method          Current value of
                                                                                  debtor's interest    used for current value    debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
     Patent No. US 10,499201 B2 and TM No. 87107769
    ______________________________________________________________                   7,453
                                                                                  $_________________      book value
                                                                                                       ______________________        7,453
                                                                                                                                 $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________    ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________    ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________     $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________     $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________     $____________________

66. Total of Part 10.                                                                                                               7,453
                                                                                                                                 $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 6
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Debtor                                                              Pg 20 of 36
                _______________________________________________________           Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    x
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    x    No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    x No
    
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    x     Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                      _______________     –   __________________________         =    $_____________________
    ______________________________________________________
                                                                      Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                            Tax year ___________       $_____________________
    _________________________________________________________________________________
                                                                                                            Tax year ___________       $_____________________
    _________________________________________________________________________________
                                                                                                            Tax year ___________       $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                     $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                     $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                      $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                        $_____________________
   ____________________________________________________________                                                                        $_____________________

78. Total of Part 11.
                                                                                                                                          0*
                                                                                                                                       $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes                                                                                               *Value of potential assets too speculative to estimate.


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 7
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Debtor               Hurdl Inc.
                  _______________________________________________________   Pg 21 of 36   Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                      4,421.80
                                                                                                         $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                          9,654.20
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                              0
                                                                                                         $_______________


83. Investments. Copy line 17, Part 4.                                                                      0
                                                                                                         $_______________


84. Inventory. Copy line 23, Part 5.                                                                        462,271
                                                                                                         $_______________
                                                                                                             _____


85. Farming and fishing-related assets. Copy line 33, Part 6.                                               0
                                                                                                         $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                            0
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                            813
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________

                                                                                                                                                  0
88. Real property. Copy line 56, Part 9. . .....................................................................................               $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                           7,453
                                                                                                         $_______________


90. All other assets. Copy line 78, Part 11.                                                        +       0
                                                                                                         $_______________


                                                                                                            484,613
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                    484,613
                                                                                                                                                $ _______________




                                                                                                                                                                       484,613
                                                                                                                                                                    $ ________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                               page 8
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                                                                             Pg 22 of 36
  Fill in this information to identify the case:

               HUrdl Inc.
  Debtor name __________________________________________________________________
                                           Southern
  United States Bankruptcy Court for the: ______________________             New York
                                                                 District of _________
                                                                                          (State)

  Case number (If known):      _________________________
                                                                                                                                                        Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    x Yes. Fill in all of the information below.
    
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                  Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                   Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien
       Pinnacle Bank ____________________________
     ______________                                                                                                            3,019,653.13                   484,613
                                                                  ___All assets of the Debtor______________________________ $__________________
                                                                     __________________                                                                    $_______________

    Creditor’s mailing address                                    ___________________________________________________

       150 Third Avenue South. Suite 900
     ________________________________________________________     ___________________________________________________
       Nashville, TN 37201
     ________________________________________________________     Describe the lien
                                                                   __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
                                                                  x
                                                                  
         Scott.Hatcher@PNFP.COM
     _________________________________________
                                                                      No
                                                                     Yes

    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                     No
    Last 4 digits of account                                      x
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   ___ ___ ___ ___
    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.
    x No
                                                                    Contingent
     Yes. Specify each creditor, including this creditor,           Unliquidated
             and its relative priority.                              Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                             Describe debtor’s property that is subject to a lien
        Two Bulls LLC
     __________________________________________     Certain Intellectual Property                       123,100.00                                          0
                                                 ___________________________________________________ $__________________                                  $_________________

    Creditor’s mailing address                                    ___________________________________________________
        55 Washington Street, Suite 260
     ________________________________________________________     ___________________________________________________
        Brooklyn, NY 11201
     ________________________________________________________     Describe the lien
                                                                   __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
       noah@twobulls.com                                          x
                                                                     No
     _________________________________________
                                                                     Yes

    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                  x
                                                                     No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

     No                                                             Contingent
    x Yes. Have you already specified the relative
                                                                    Unliquidated
             priority?                                               Disputed
        x
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                    1 - Two Bulls
                  _________________________________
                     2 - Pinnacle Bank
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     3,142,753.13
                                                                                                                                   $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                          1
                                                                                                                                                             page 1 of ___
                  20-12768-scc           Doc 1         Filed 11/30/20 Entered 11/30/20 09:25:26                                    Main Document
    Fill in this information to identify the case:                  Pg 23 of 36

    Debtor             Hurdl Inc.
                     __________________________________________________________________

                                             Southern
    United States Bankruptcy Court for the: ______________________              New York
                                                                   District of __________
                                                                                    (State)
    Case number       ___________________________________________
     (If known)

                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                          12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:          List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
         No. Go to Part 2.
     x
         Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                 Total claim                   Priority amount
2.1 Priority creditor’s name and mailing address                                                                        2,450.76
                                                                       As of the petition filing date, the claim is: $______________________      2,450.76
                                                                                                                                               $_________________
         Byrge, Sherry
    __________________________________________________________________ Check all that apply.
         101 Gillespie Drive, Apt 11107
    ___________________________________________                         Contingent
         Franklin TN 37067                                              Unliquidated
     ___________________________________________                    Disputed
     Date or dates debt was incurred                             Basis for the claim:
                                                                  wages
                                                                __________________________________
        Sept. 2020 - Nov. 2020
     _________________________________

     Last 4 digits of account                                   Is the claim subject to offset?
     number      ___ ___ ___ ___                                x No
                                                                 Yes
     Specify Code subsection of PRIORITY unsecured
                                  4
     claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                                                                       8,550.00
                                                                       As of the petition filing date, the claim is: $______________________      8,550.00
                                                                                                                                               $_________________
        Carson, Bill
    __________________________________________________________________ Check all that apply.
         5 Bush Court
    ___________________________________________                         Contingent
         Princeton Junction, NJ 08550-2139                              Unliquidated
     ___________________________________________                    Disputed
     Date or dates debt was incurred                             Basis for the claim:
                                                                  wages
                                                                __________________________________
       Sept. 2020 - Nov. 2020
     _________________________________

     Last 4 digits of account                                   Is the claim subject to offset?
     number      ___ ___ ___ ___                                x No
                                                                 Yes
     Specify Code subsection of PRIORITY unsecured
                                  4
     claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                                                                        8,550.00
                                                                       As of the petition filing date, the claim is: $______________________      8,550.00
                                                                                                                                               $_________________
         Snyder, Tim
    __________________________________________________________________ Check all that apply.
        125 Highland Ave
    ___________________________________________                         Contingent
        Jersey City, NJ 7306                                            Unliquidated
     ___________________________________________                    Disputed
     Date or dates debt was incurred                             Basis for the claim:
                                                                   wages
                                                                __________________________________
        Sept. 2020 - Nov. 2020
     _________________________________

     Last 4 digits of account                                   Is the claim subject to offset?
     number      ___ ___ ___ ___                                x No
                                                                 Yes
     Specify Code subsection of PRIORITY unsecured
                                  4
     claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 3
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                 Hurdl Inc.
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  Debtor       _______________________________________________________        Case number (if known)_____________________________________
               Name                                             Pg 24 of 36
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:
                                                                                                                           $________________________________
      See Annex   1 to Schedule E/F attached.                    Check all that apply.
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 3
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                Hurdl Inc.
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 Debtor        _______________________________________________________   Case number (if known)_____________________________________
               Name                                        Pg 25 of 36
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.          19,550.76
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +      1,715,373.24
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2                                                                                 1,734,924.24
                                                                                             5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                 page 3 of 3
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________
                                      )
In re:                                )
                                      )             Chapter 11
Hurdl Inc.,                           )
                                      )             Case No. __-___( )
                                      )
                  Debtor.             )
_____________________________________ )


                         ANNEX 1 TO SCHEDULE E/F (Alphabetical)
 No.       Name               Address         Amount of          Basis for    Contingent,    Setoff
                                               Claim              Claim      Unliquidated,     ?
                                                                             or Disputed?
1      Baker             211 Commerce         $16,546.00    Operational
       Donelson          Street, Suite 800,                 Goods and
                         Nashville, TN                      Services
                         37201
2      Barlow Capital,   1804 Williamson      $76,693.15    Bridge Loan
       LLC               Court, #107,
                         Brentwood, TN
                         37027
3      Bart Family,      421 Ellendale        $38,328.77    Bridge Loan
       LLC               Avenue,
                         Nashville, TN
                         37208
4      Benny Brown       4338 N. Chapel       $80,433.30    Bridge Loan
                         Road, Franklin,
                         TN 37067
5      Betsy McHugh      4113 Colorado        $52,083.00    Comp-
       Proctor           Avenue,                            ensation
                         Nashville, TN                      Agreement
                         37209
6      Bradley Arant     1600 Division        $45,078.91    Operational
       Boult             Street, Suite 700,                 Goods and
       Cummings          Nashville, TN                      Services
                         37203
7      Brendan Justice   1433 72nd Street,    $20,000.00    Operational
                         Apt 5, Brooklyn,                   Goods and
                         NY 11228                           Services
8      Caden Family      4 Wynstone,          $5,130.01     Bridge Loan
       Trust 2015        Nashville, TN
                         37215
10     Charles Byrge     2020B Galbraith      $6,700.49     Bridge Loan
                         Drive, Nashville,
                         TN 37215

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No.        Name             Address         Amount of       Basis for    Contingent,    Setoff
                                             Claim           Claim      Unliquidated,     ?
                                                                        or Disputed?
11    David B. Dunn     408 Ellendale        $4,658.25    Bridge Loan
                        Avenue,
                        Nashville, TN
                        37205
12    Edward G.         6210 Belle Rive     $15,221.36    Bridge Loan
      Grindstaff, Sr.   Drive,
                        Brentwood, TN
                        37027
13    Enabling          33 Century Blvd,    $125,000.00   Operational
      Founders LLC      Suite 766,                        Goods and
                        Millerton, NY                     Services
                        12546
14    Endeavor          9601 Wilshire       $270,000.00   Operational                   Yes
                        Blvd., Beverly                    Goods and
                        Hills, CA 90210                   Services
15    Faulkner          3100 West End       $18,930.00    Operational
      Mackie            Avenue, Suite                     Goods and
                        700, Nashville,                   Services
                        TN 37203
16    Golden Road       12 Victoria Road,    $1,250.00    Operational
      Entertainment     Ardsley, NY                       Goods and
                        10502                             Services
17    Gotham United     298 Highland        $11,372.82    Bridge Loan
      Ventures LLC      Avenue, Glen
                        Rock, NJ 7452
18    GRA LLC           101 Ransom           $9,949.77    Bridge Loan
                        Avenue,
                        Nashville, TN
                        37205
19    Ho Made           185 Hall Street,    $50,000.00    Operational
      Media             Apt. 1609,                        Goods and
                        Brooklyn, NY                      Services
                        11205
20    Janet L.          4101 Old Adobe       $1,738.03    Bridge Loan
      Ramusack          Road, Palo Alto,
                        CA 94306
21    Janet Levine      4101 Old Adobe      $12,000.00    Operational
                        Road, Palo Alto,                  Goods and
                        CA 94306                          Services
22    John B            6221 Brownlee        $7,906.74    Bridge Loan
      Saltsman Jr       Drive, Nashville,
                        TN 37205
23    Lark              300 Ashland          $4,625.00    Operational
      Group/Mark        Place, Apt. 24T,                  Goods and
      Lojek             Brooklyn, NY                      Services
                        11217


                                               2
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No.        Name             Address         Amount of       Basis for    Contingent,    Setoff
                                             Claim           Claim      Unliquidated,     ?
                                                                        or Disputed?
24    Loeb & Loeb      35 Music Square       $6,463.50    Operational
      LLP              East, Suite 310,                   Goods and
                       Nashville, TN                      Services
                       37203
25    M.D. Carlisle    611 Broadway,         $4,584.10    Operational
      Realty / Cable   New York, NY                       Goods and
      Building         10012                              Services
26    Michael          9425 Weatherly       $37,600.55    Bridge Loan
      Tudeen           Drive,
                       Brentwood, TN
                       37027
27    MSP Sports       11 Montrose          $10,500.00    Operational
      LLC/Tim          Avenue, Summit,                    Goods and
      McGhee           NJ 07901                           Services
28    Nemean           102 W 71 Street,     $62,500.00    Operational     Disputed
      Advisory, LLC    Apt 2A, New                        Goods and
                       York, NY 10023                     Services
29    OTD Ventures     33 Century Blvd,     $38,323.29    Bridge Loan
      LLC              Suite 766,
                       Millerton, NY
                       12546
30    Perkins Coie     1155 Avenue of       $81,680.50    Operational
                       the Americas,                      Goods and
                       22nd Floor, New                    Services
                       York, NY 10036-
                       2711
31    Randy            33 Century Blvd,     $125,000.00   Contracted
      Ramusack         Suite 766,                         Advisory
                       Millerton, NY                      Services
                       12546
32    Span Digital,    333 Bryant Street,   $36,000.00    Operational
      LLC              Suite 110, San                     Goods and
                       Francisco, CA                      Services
                       94107
33    Strat VC         292 Lafayette         $9,307.59    Bridge Loan
      Investor LLC     Street, 2E, New
                       York, NY 10012
34    T. Powell        PO Box 331133,       $81,098.64    Bridge Loan
      Hedley           Nashville, TN
                       37203
35    Thomas           413 Ellendale        $76,657.53    Bridge Loan
      Kendrot          Avenue, Franklin,
                       TN 37205
36    Tim Snyder       125 Highland          $4,023.66    Bridge Loan
                       Ave, Jersey City,
                       NJ 7306



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No.       Name              Address         Amount of        Basis for    Contingent,    Setoff
                                             Claim            Claim      Unliquidated,     ?
                                                                         or Disputed?
37    Twilio           375 Beale Street,    $13,130.06     Operational
                       Suite 300, San                      Goods and
                       Francisco, CA                       Services
                       94105
38    U.S. Small       409 3rd St, SW.      $59,945.00     Paycheck
      Business         Washington DC                       Protection
      Administration   20416                               Program
39    Walston          4113 Colorado        $7,276.91      Bridge Loan
      Capital, LLC     Avenue,
                       Nashville, TN
                       37209
40    Well Group       1101 Little         $182,162.81     Operational
      Products         School Road                         Goods and
                       Arlington, TX                       Services
                       76017
41    Workman          60 East South        $5,473.50      Operational
      Nydegger         Temple, Suite                       Goods and
                       1000, Salt Lake                     Services
                       City, UT 84111
      Total                                $1,715,373.24


                     ANNEX 1 TO SCHEDULE E/F (By Claim Amount)
No.       Name              Address         Amount of        Basis for    Contingent,    Setoff
                                             Claim            Claim      Unliquidated,     ?
                                                                         or Disputed?
14    Endeavor         9601 Wilshire       $270,000.00     Operational                   Yes
                       Blvd., Beverly                      Goods and
                       Hills, CA 90210                     Services
40    Well Group       1101 Little         $182,162.81     Operational
      Products         School Road                         Goods and
                       Arlington, TX                       Services
                       76017
13    Enabling         33 Century Blvd,    $125,000.00     Operational
      Founders LLC     Suite 766,                          Goods and
                       Millerton, NY                       Services
                       12546
31    Randy            33 Century Blvd,    $125,000.00     Contracted
      Ramusack         Suite 766,                          Advisory
                       Millerton, NY                       Services
                       12546
30    Perkins Coie     1155 Avenue of      $81,680.50      Operational
                       the Americas,                       Goods and
                       22nd Floor, New                     Services
                       York, NY 10036-
                       2711


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No.        Name              Address         Amount of      Basis for    Contingent,    Setoff
                                              Claim          Claim      Unliquidated,     ?
                                                                        or Disputed?
34    T. Powell         PO Box 331133,       $81,098.64   Bridge Loan
      Hedley            Nashville, TN
                        37203
4     Benny Brown       4338 N. Chapel       $80,433.30   Bridge Loan
                        Road, Franklin,
                        TN 37067
2     Barlow Capital,   1804 Williamson      $76,693.15   Bridge Loan
      LLC               Court, #107,
                        Brentwood, TN
                        37027
35    Thomas            413 Ellendale        $76,657.53   Bridge Loan
      Kendrot           Avenue, Franklin,
                        TN 37205
28    Nemean            102 W 71 Street,     $62,500.00   Operational     Disputed
      Advisory, LLC     Apt 2A, New                       Goods and
                        York, NY 10023                    Services
38    U.S. Small        409 3rd St, SW.      $59,945.00   Paycheck
      Business          Washington DC                     Protection
      Administration    20416                             Program
5     Betsy McHugh      4113 Colorado        $52,083.00   Comp-
      Proctor           Avenue,                           ensation
                        Nashville, TN                     Agreement
                        37209
19    Ho Made           185 Hall Street,     $50,000.00   Operational
      Media             Apt. 1609,                        Goods and
                        Brooklyn, NY                      Services
                        11205
6     Bradley Arant     1600 Division        $45,078.91   Operational
      Boult             Street, Suite 700,                Goods and
      Cummings          Nashville, TN                     Services
                        37203
3     Bart Family,      421 Ellendale        $38,328.77   Bridge Loan
      LLC               Avenue,
                        Nashville, TN
                        37208
29    OTD Ventures      33 Century Blvd,     $38,323.29   Bridge Loan
      LLC               Suite 766,
                        Millerton, NY
                        12546
26    Michael           9425 Weatherly       $37,600.55   Bridge Loan
      Tudeen            Drive,
                        Brentwood, TN
                        37027
32    Span Digital,     333 Bryant Street,   $36,000.00   Operational
      LLC               Suite 110, San                    Goods and
                        Francisco, CA                     Services
                        94107


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No.        Name              Address         Amount of      Basis for    Contingent,    Setoff
                                              Claim          Claim      Unliquidated,     ?
                                                                        or Disputed?
7     Brendan Justice   1433 72nd Street,    $20,000.00   Operational
                        Apt 5, Brooklyn,                  Goods and
                        NY 11228                          Services
15    Faulkner          3100 West End        $18,930.00   Operational
      Mackie            Avenue, Suite                     Goods and
                        700, Nashville,                   Services
                        TN 37203
1     Baker             211 Commerce         $16,546.00   Operational
      Donelson          Street, Suite 800,                Goods and
                        Nashville, TN                     Services
                        37201
12    Edward G.         6210 Belle Rive      $15,221.36   Bridge Loan
      Grindstaff, Sr.   Drive,
                        Brentwood, TN
                        37027
37    Twilio            375 Beale Street,    $13,130.06   Operational
                        Suite 300, San                    Goods and
                        Francisco, CA                     Services
                        94105
21    Janet Levine      4101 Old Adobe       $12,000.00   Operational
                        Road, Palo Alto,                  Goods and
                        CA 94306                          Services
17    Gotham United     298 Highland         $11,372.82   Bridge Loan
      Ventures LLC      Avenue, Glen
                        Rock, NJ 7452
27    MSP Sports        11 Montrose          $10,500.00   Operational
      LLC/Tim           Avenue, Summit,                   Goods and
      McGhee            NJ 07901                          Services
18    GRA LLC           101 Ransom           $9,949.77    Bridge Loan
                        Avenue,
                        Nashville, TN
                        37205
33    Strat VC          292 Lafayette        $9,307.59    Bridge Loan
      Investor LLC      Street, 2E, New
                        York, NY 10012
22    John B            6221 Brownlee        $7,906.74    Bridge Loan
      Saltsman Jr       Drive, Nashville,
                        TN 37205
39    Walston           4113 Colorado        $7,276.91    Bridge Loan
      Capital, LLC      Avenue,
                        Nashville, TN
                        37209
10    Charles Byrge     2020B Galbraith      $6,700.49    Bridge Loan
                        Drive, Nashville,
                        TN 37215




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No.        Name            Address          Amount of        Basis for    Contingent,    Setoff
                                             Claim            Claim      Unliquidated,     ?
                                                                         or Disputed?
24    Loeb & Loeb      35 Music Square      $6,463.50      Operational
      LLP              East, Suite 310,                    Goods and
                       Nashville, TN                       Services
                       37203
41    Workman          60 East South        $5,473.50      Operational
      Nydegger         Temple, Suite                       Goods and
                       1000, Salt Lake                     Services
                       City, UT 84111
8     Caden Family     4 Wynstone,          $5,130.01      Bridge Loan
      Trust 2015       Nashville, TN
                       37215
11    David B. Dunn    408 Ellendale        $4,658.25      Bridge Loan
                       Avenue,
                       Nashville, TN
                       37205
23    Lark             300 Ashland          $4,625.00      Operational
      Group/Mark       Place, Apt. 24T,                    Goods and
      Lojek            Brooklyn, NY                        Services
                       11217
25    M.D. Carlisle    611 Broadway,        $4,584.10      Operational
      Realty / Cable   New York, NY                        Goods and
      Building         10012                               Services
36    Tim Snyder       125 Highland         $4,023.66      Bridge Loan
                       Ave, Jersey City,
                       NJ 7306
20    Janet L.         4101 Old Adobe       $1,738.03      Bridge Loan
      Ramusack         Road, Palo Alto,
                       CA 94306
16    Golden Road      12 Victoria Road,    $1,250.00      Operational
      Entertainment    Ardsley, NY                         Goods and
                       10502                               Services
      Total                                $1,715,373.24




                                               7
             20-12768-scc              Doc 1       Filed 11/30/20 Entered 11/30/20 09:25:26                                Main Document
                                                                Pg 33 of 36
 Fill in this information to identify the case:

               Hurdl Inc.
 Debtor name __________________________________________________________________

                                           Southern
 United States Bankruptcy Court for the:______________________ District of      New York
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                          11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       x
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or         Inventory___________________________
                                          _________   Provider                               Well Group Products
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________               1101 Little School Road
                                                                                           _________________________________________________________
                                                                                             Arlington, TX 76017
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or         IP Licensor
                                          _______ _____________________________
                                                                                              Two Bulls, LLC
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
                                                                                              55 Washington Street, Suite 260
         of the debtor’s interest         _____________________________________            _________________________________________________________
                                                                                              Brooklyn, NY 11201
                                                                                           _________________________________________________________
         State the term remaining         _____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or         SMS Provider
                                          ____________________________________               Twilio Inc.
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
                                                                                              375 Beale Street, Suite 300
         of the debtor’s interest                                                          _________________________________________________________
                                          ___________________________________
                                                                                             San Francisco, CA 94105
                                                                                           _________________________________________________________
         State the term remaining         _ __________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or         Bleeker St. _________________________
                                          ___________   Leasehold                             The UPS Store
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature
                                          ___________________________________                  64 Bleeker St.
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                               New York, NY 10012
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
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 Fill in this information to identify the case:

                Hurdl Inc.
 Debtor name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the:_______________________              New York
                                                                District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       x
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

        See Annex 1 to Schedule H attached.
 2.1     _____________________         ________________________________________________________            _____________________              D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of 1
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________
                                      )
In re:                                )
                                      )     Chapter 11
Hurdl Inc.,                           )
                                      )     Case No. __-___( )
                                      )
                  Debtor.             )
_____________________________________ )


                            ANNEX 1 TO SCHEDULE H
Column 1: Codebtor                               Column 2: Creditor
Name                Mailing Address              Name            Schedule
Benny Brown         4338 N. Chapel Road          Pinnacle Bank   D
                    Franklin, TN 37067
Thomas Kendrot      413 Ellendale Ave.           Pinnacle Bank   D
                    Franklin, TN 37205
Bart Family, LLC    418 Ellendale Ave.           Pinnacle Bank   D
(David Bartholomew) Nashville, TN 37205
T. Powell Hedley    PO Box 331133                Pinnacle Bank   D
                    Nashville, TN 37203
Barlow Capital, LLC 1804 Williamson Ct., #107    Pinnacle Bank   D
(Austin Pennington) Brentwood, TN 37027
Michael Tudeen      9425 Weatherly Drive         Pinnacle Bank   D
                    Brentwood, TN 37027
Edward G.           6210 Belle Rive Drive        Pinnacle Bank   D
Grindstaff, Sr.     Brentwood, TN 37027
Tim Snyder          125 Highland Ave             Pinnacle Bank   D
                    Jersey City, NJ 7306
Charles Kirby       1106 Belle Meade Blvd.       Pinnacle Bank   D
                    Nashville, TN 37205
Suwyn Investments   26291 Woodlyn Drive          Pinnacle Bank   D
LLC                 Bonita Springs, FL 34134
Lisa Scheiring      102 W 71 St., Apt. 2A        Pinnacle Bank   D
                    New York, NY 10023
Randall Ramusack    33 Century Blvd, Suite 766   Pinnacle Bank   D
                    Millerton, NY 12546
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 Fill in this information to identify the case:

                 Hurdl Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                             Southern
 United States Bankruptcy Court f or the: _______________________             New York
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                   0
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:
                                                                                                                                                                                                   484,613
                                                                                                                                                                                                $ ______________
                                                                                                                                                                                                  ____
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                $    484,613
                                                                                                                                                                                                    ____
                                                                                                                                                                                                     ____________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   3,142.753.13
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                    19,550.76
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +       1,715,373.24
                                                                                                                                                                                                $ _______________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................          4,877,677.13
                                                                                                                                                                                                  _______________
                                                                                                                                                                                                $ ____
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
